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                               UNITED STATES DISTRICT COURT
11
                 CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
12
13
     JEFFREY SCOTT, an individual,                 Case No. 2:20-CV-09709-SB-SK
14
                  Plaintiff,                       DEFENDANT THE WALT DISNEY
15                                                 COMPANY’S RESPONSE TO
           vs.                                     PLAINTIFF’S OBJECTIONS TO
16                                                 DEFENDANT’S REPLY BRIEF
   THE WALT DISNEY COMPANY, a                      AND SUPPLEMENTAL REQUEST
17 Delaware corporation; and DOES 1                FOR JUDICIAL NOTICE; AND
   through 10, inclusive,                          REQUEST THAT COURT ORDER
18                                                 DEFENDANT TO FILE A
                Defendants.                        COMPLIANT REPLY BRIEF OR
19                                                 GRANT PLAINTIFF LEAVE TO
                                                   FILE SURREPLY
20
21                                                 Judge: Hon. Stanley Blumenfeld, Jr.
22                                                 Date: March 26, 2021
23                                                 Time: 8:30 A.M.
                                                   Place: Courtroom 6C
24                                                 Action Filing Date: October 22, 2020
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      RESP. TO PL.’S OBJS. TO DEF.’S REPLY & SUPPL. REQ. FOR JUDICIAL NOTICE; AND REQ. THAT CT. ORDER
                 DEF. TO FILE A COMPLIANT REPLY BR. OR GRANT PL. LEAVE TO FILE SUR-REPLY
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 1         Plaintiff Jeffrey Scott’s objections to Defendant The Walt Disney Company’s
 2 (“Disney”) Reply and Supplemental Request for Judicial Notice should be overruled, and
 3 his request that Disney be ordered to file an amended reply or that he be allowed a 10-
 4 page surreply should be denied.
 5         Scott’s pitch for the opportunity to submit a 10-page surreply appears to be based
 6 primarily on his complaint that the “Reply cites approximately forty new authorities that
 7 were not cited in the memoranda in support of and in opposition to defendant’s motion,”
 8 though Scott concedes “most of [these authorities] address the same issues that defendant
 9 argued in its opening brief.” (Pl.’s Obj. at 1-2.) Scott cites nothing in support of his
10 requests for a surreply or for ordering Disney to amend its reply.
11         The law does not support the relief Scott seeks. The Court has discretion to permit
12 a surreply only “[w]hen a party raises new arguments or presents new evidence in a
13 reply.” Laub v. Horbaczewski, 2020 WL 5092452, at *1 (C.D. Cal. June 24, 2020). Scott
14 concedes that the “new authorities … address the same issues that defendant argued in its
15 opening brief” and does not contend that the reply raises any new or different arguments.
16 (Pl.’s Obj. at 1-2.) Where “defendants’ reply brief and supporting materials do not raise
17 new matters,” they “should not be stricken.” Gambra v. Int’l Lease Fin. Corp., 377 F.
18 Supp. 2d 810, 827 n.18 (C.D. Cal. 2005)
19         That leaves only his argument about “new evidence.” But evidence is not “‘new,’
20 … if it is submitted in direct response to proof adduced in opposition to a motion.” Laub,
21 2020 WL 5092452 at *1; Gambra, 377 F. Supp. 2d at 827 n. 18 (“the evidence submitted
22 in support of the reply brief directly relates to the discussion of jurisdiction and foreign
23 law set forth in the motion and opposition”). That is particularly so when “the reply [is]
24 responsive to [the plaintiff’s] arguments and ‘evidence’ in opposition that were different
25 from the allegations in the amended complaint.” Aguirre v. Munk, 2011 WL 2149087,
26 *13 (N.D. Cal. June 1, 2011). That is exactly what happened here: Scott’s Opposition
27 asserted a host of new factual and legal theories not pleaded in his Complaint and indeed
28 contrary to his Complaint, including: (1) that Scott was authorized to create a copyrighted
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 1 derivative work by Henson in addition to Marvel (Opp. at 4-5); (2) that “Marvel had
 2 apparent authority to enter into an agreement whereby Scott retained his copyright in the
 3 Bible” (id. at 7-8); (3) that Scott did not know in 2003 that he owned a Muppet Babies
 4 copyright (id. at 11); and (4) that Marvel purportedly “executed the Marvel Agreement
 5 [with Scott] by performance” (id. at 15, caps. amended). Scott also raised a series of
 6 bankruptcy-related theories and relied on evidence (including multiple declarations) far
 7 beyond anything in the Complaint. Disney properly responded to those arguments, and
 8 Scott is not entitled to a surreply merely because he changed his theories.
 9         Scott’s attack on Disney for using footnotes and a bullet list is even more mistaken.
10 The Reply contains nine footnotes. There is nothing excessive about that, and the
11 footnotes serve their proper function of addressing tangents to main points. The bullet list
12 covers the factors for substantial similarity, and each bullet has a single declarative
13 sentence followed by a citation sentence. That is a customary way of organizing terse
14 information. Scott’s attack is even less tenable in context. Disney’s bullet list responds to
15 Scott’s substantial similarity argument, which is made not in his Opposition, but in a
16 document incorporated by reference into that Opposition: an eight-page, single-spaced
17 comparison of the 1984 Muppet Babies show bible to Disney’s 2018 reboot appended to
18 Scott’s declaration. (See Opp. at 14 (“Exhibit 2 to Scott’s declaration is a comparison that
19 highlights many of the Bible elements that Disney lifted and used in the first four
20 episodes of the Reboot.”).) Scott similarily submitted as an exhibit a 28-page, single-
21 spaced comparison of the show bible to the notes of Henson Associates’ March 1984
22 Muppet Babies brainstorming session in support of his position regarding
23 copyrightability. (See Scott Decl., Ex. 3; Opp. at 13 (“Many of the new elements in
24 Scott’s Bible are described in Exhibits 2, 3, and 4 to his declaration”).) Unlike Disney’s
25 bullet list, which was proper, Scott improperly “circumvent[ed] page limits by simply
26 incorporating by reference other documents, such as attached or lodged exhibits.” De La
27 Torre v. Legal Recovery L. Off., 2013 WL 5462294, at *3 (S.D. Cal. Sept. 30, 2013).
28 After he did so, he cannot possibly have grounds to protest Disney’s reply, let alone to
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 1 win himself a surreply.
 2         Finally, Scott’s objection to Disney’s supplemental request for judicial notice is
 3 equally meritless. These documents directly respond to Scott’s arguments and evidence
 4 that he “did not know the technical intricacies of the Copyright Act” in 2003 when filing
 5 for bankruptcy and “did not know that he owned a copyright in the Bible he had written
 6 nearly twenty years earlier” as a means to avoid bankruptcy estoppel. (Opp. at 10; Scott
 7 Decl. ¶¶ 5-6; see also Reply at 9 n.7 (explaining relevance of documents appended to
 8 Suppl. RJN).) Where, as here, a defendant’s “documents respond directly to [the
 9 plaintiff’s] allegations made in his opposition brief, the Court … may properly consider
10 this rebuttal evidence even though it was offered for the first time in [the defendant’s]
11 reply brief.” United States v. Taibi, 2012 WL 553143, at *4 (S.D. Cal. Feb. 21, 2012).
12         Moreover, these documents—which concern Scott’s attempt to misappropriate
13 copyrights in the Three Stooges—cannot possibly come as a surprise to Scott, who was
14 the one was lost the lawsuit, sent a letter to licensees claiming he knew copyright law
15 better than the trial court, and was found in contempt as a consequence. Scott says
16 inaccurately that Disney has failed to provide “any evidence as to the circumstances of
17 [the documents’] preparation or the matters addressed therein.” (Pl.s Obj. at 2.) As the
18 Supplemental RJN explains, the documents are two court records, consisting of a
19 judgment (Ex. A) and a letter signed by Scott and filed with the Los Angeles Superior
20 Court (Ex. B), and a newspaper article (Ex. C). Scott does not dispute that is what these
21 are, and he offers no explaining why, for instance, a judgment is not indisputable
22 evidence of how the case was resolved.
23         For the foregoing reasons, this Court should overrule Scott’s objections to
24 Disney’s Reply and Supplemental Request for Judicial Notice and deny his request that
25 Disney be ordered to file an amended reply or that Scott be allowed a surreply, such that
26 the parties and this Court can proceed with oral argument on March 26, 2021.
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 1 DATED: March 18, 2021                       MUNGER, TOLLES & OLSON LLP
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 2
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 5                                             By:         /s/ Erin J. Cox
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 7                                             Attorneys for The Walt Disney Company
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